     Case 2:21-cv-09552-CAS-SK Document 1 Filed 12/09/21 Page 1 of 6 Page ID #:1



 1      RITA M. HAEUSLER (SBN 110574)
        rita.haeusler@hugheshubbard.com
 2      ROBBY S. NAOUFAL (SBN 302148)
        robby.naoufal@hugheshubbard.com
 3      HUGHES HUBBARD & REED LLP
        1999 Avenue of the Stars, 9th Floor
 4      Los Angeles, CA 90067-4620
        Telephone: (213) 613-2800
 5      Facsimile: (213) 613-2950
 6      JAMES W. DABNEY (pro hac vice pending)
        james.dabney@hugheshubbard.com
 7      JAMES R. KLAIBER (pro hac vice pending)
        james.klaiber@hugheshubbard.com
 8      LYNN M. RUSSO (pro hac vice pending)
        lynn.russo@hugheshubbard.com
 9      HUGHES HUBBARD & REED LLP
        1 Battery Park Plaza
10      New York, NY 10004-1482
        Telephone: (212) 837-6000
11      Facsimile: (212) 422-4726
12      ROY LIU (pro hac vice pending)
        Roy.Liu@hugheshubbard.com
13      HUGHES HUBBARD & REED LLP
        1775 I Street, N.W., 5th floor
14      Washington DC 20006 2401
        Telephone: (202) 741-4938
15      Facsimile: (202) 729-4798
16      Attorneys for Plaintiffs
        SUZHOU ANGELA ONLINE GAME TECHNOLOGY CO., LTD. and
17      IMPERIUM INTERACTIVE ENTERTAINMENT LIMITED
18                         UNITED STATES DISTRICT COURT
19                        CENTRAL DISTRICT OF CALIFORNIA
20      SUZHOU ANGELA ONLINE GAME                 Case No. 2:21-cv-9552
        TECHNOLOGY CO., LTD., a Chinese
21      Corporation, and IMPERIUM                 COMPLAINT FOR:
        INTERACTIVE ENTERTAINMENT
22      LIMITED, a Chinese Corporation,           1. DECLARATORY JUDGMENT
                                                  OF NON-LIABILITY FOR
23                             Plaintiffs,        COPYRIGHT INFRINGEMENT
24              v.                                2. DECLARATORY JUDGMENT
                                                  OF NON-LIABILITY FOR TRADE
25      SNAIL GAMES USA INC., a                   SECRET MISAPPROPRIATION
        California Corporation, and
26      WILDCARD PROPERTIES LLC, a                3. VIOLATION OF 17 U.S.C. § 512(f)
        Florida Limited Liability Company,
27                                               JURY TRIAL DEMAND
                      Defendants.
28

        101934562_2
                                             COMPLAINT
     Case 2:21-cv-09552-CAS-SK Document 1 Filed 12/09/21 Page 2 of 6 Page ID #:2



 1             Suzhou Angela Online Game Technology Co., Ltd. and Imperium Interactive
 2     Entertainment Limited, by their attorneys, for their complaint in this action allege:
 3                                          JURISDICTION
 4             1.      This action arises under the Copyright Act, 17 U.S.C. §§ 101 et seq., and
 5     whatever trade secret laws Defendants referred to in Exhibit 1 hereto. The Court has
 6     subject matter jurisdiction to hear this action under at least 28 U.S.C. §§ 1331,
 7     1332(a), 1338, 1367, 2201, and 2202. The parties are of diverse citizenship, and the
 8     amount in controversy exceeds the sum or value of $75,000.00 exclusive of interest
 9     and costs.
10                                              PARTIES
11             2.      Plaintiff Suzhou Angela Online Game Technology Co., Ltd. (“Angela
12     Game”) is a corporation organized and existing under the laws of China, having its
13     principal place of business in Suzhou, China.
14             3.      Plaintiff Imperium Interactive Entertainment Limited (“IE”) is a
15     corporation organized and existing under the laws of China, having its principal place
16     of business in Hong Kong, China.
17             4.      Defendant Snail Games USA Inc. is a corporation organized and existing
18     under the laws of California, having its principal place of business in Culver City,
19     California.
20             5.      Defendant Wildcard Properties LLC (“Wildcard”) is a limited liability
21     company organized and existing under the laws of Florida, having its principal place
22     of business in Redmond, Washington and having a presence in Santa Ana, California
23     through at least a manager, Zhou Ying.
24                                    FIRST CAUSE OFACTION
25                    (Declaratory Judgment of Non-Infringement of Copyrights)
26             6.      Plaintiff Angela Games is the developer and owner of a videogame
27     entitled Myth of Empires (“Myth of Empires”).
28

        101934562_2                                 1
                                                COMPLAINT
     Case 2:21-cv-09552-CAS-SK Document 1 Filed 12/09/21 Page 3 of 6 Page ID #:3



 1             7.     Myth of Empires is the end-result of a years-long development effort
 2     dating back to at least 2018.
 3             8.     Myth of Empires was developed in part using version 4.26 of Unreal
 4     Engine (UE 4.26) under license from Epic Games, Inc.
 5             9.     Pursuant to a Steam Distribution Agreement dated 5 July 2020 between
 6     IE and third-party Valve Corporation (“Valve”), Myth of Empires was until recently
 7     offered, distributed, and made available to end users by Valve via a delivery system or
 8     service commonly known as Steam Platform.
 9             10.    On or about December 1, 2021, Defendants transmitted to Valve a copy
10     of the letter annexed hereto as Exhibit 1 (the “Valve Letter”).
11             11.    The Valve Letter alleges that Myth of Empires purportedly “was built by:
12     (1) stealing the Ark Survival Evolved source code and (2) using the stolen source code
13     as the gameplay foundation for Myth of Empires.”
14             12.    The allegations quoted in paragraph 11, above, are false.
15             13.    Exhibit 1 does not present any material or substantial quantity of Myth of
16     Empires software code, but attaches a document that (i) misleadingly presents, out of
17     order, an extremely small set of “names” that exist in Myth of Empires source code;
18     and (ii) omits software code that actually drives the operation of Myth of Empires
19     including the “gameplay mechanics” referred to in Exhibit 1.
20             14.    The “names” referred to in Exhibit 1 are not copyrightable and are not
21     subject to copyright control in any event.
22             15.    Based on false claims made in Exhibit 1, Valve ceased distributing Myth
23     of Empires via Steam Platform on or about December 7, 2021.
24             16.    The false claim of copyright infringement made in Exhibit 1 has caused
25     and threatens to cause irreparable harm to Plaintiffs’ business.
26             17.    Plaintiffs are entitled to judgment declaring that Myth of Empires is not a
27     “derivative work” of any of the copyrighted works referred to in Exhibit 1.
28

        101934562_2                                 2
                                                COMPLAINT
     Case 2:21-cv-09552-CAS-SK Document 1 Filed 12/09/21 Page 4 of 6 Page ID #:4



 1             18.    Plaintiffs are entitled to judgment declaring that the offering,
 2     reproduction, distribution, performance, display, or transmission of Myth of Empires
 3     does not infringe, directly or indirectly, any copyrights referred to in Exhibit 1
 4             19.    Plaintiffs are entitled to preliminary and permanent injunctions requiring
 5     Defendants to withdraw Exhibit 1 and any other takedown notices that Defendants
 6     may have issued to distributors of Myth of Empires, and to cease and desist from any
 7     further interference with the distribution of Myth of Empires by Valve or any other
 8     distributor thereof.
 9                                  SECOND CAUSE OF ACTION
10               (Declaratory Judgment of Non-Misappropriation of Trade Secrets)
11             20.    Paragraphs 1-19, above, are realleged and incorporated by reference as if
12     set forth in full.
13             21.    In the Valve Letter, Defendants alleged that Myth of Empires “appears to
14     have been built with trade secret source code copied and stolen from” Defendants.
15             22.    The allegation quoted in paragraph 21, above, is false.
16             23.    The false claim of trade secret misappropriation made in Exhibit 1 has
17     caused and threatens to cause irreparable harm to Plaintiff’s business.
18             24.    Plaintiffs are entitled to judgment declaring that Myth of Empires does
19     not embody any “trade secrets” owned by Defendant.
20             25.    Plaintiffs are entitled to judgment declaring that the offering,
21     reproduction, distribution, performance, display, or transmission of Myth of Empires
22     does not, directly or indirectly, constitute trade secret misappropriation.
23                                   THIRD CAUSE OF ACTION
24                                  (Violation of 17 U.S.C. § 512(f))
25             26.    Paragraphs 1-25, above, are realleged and incorporated by reference as if
26     set forth in full.
27             27.    On or about December 1, 2021, Defendants knowingly materially
28     misrepresented to Valve that Myth of Empires was built using “stolen source code.”

        101934562_2                                  3
                                                 COMPLAINT
     Case 2:21-cv-09552-CAS-SK Document 1 Filed 12/09/21 Page 5 of 6 Page ID #:5



 1             28.    On or about December 1, 2021, Defendants knowingly materially
 2     misrepresented to Valve that its distribution of Myth of Empires infringed the
 3     copyrights identified in Exhibit 1.
 4             29.    Defendants’ knowing misrepresentations identified in paragraphs 27 and
 5     28 have injured Plaintiffs’ business by causing Valve to cease distribution of Myth of
 6     Empires.
 7             30.    Defendants are liable to Plaintiffs, jointly and severally with any officers
 8     or directors who personally approved the transmission of Exhibit 1, for damages and
 9     attorneys’ fees under 17 U.S.C. § 512(f).
10                                       PRAYER FOR RELIEF
11             WHEREFORE, Plaintiffs pray that the Court:
12                    (i)     declare that Plaintiffs are not liable to Defendants for infringement
13                    of any copyrights referred to in Exhibit 1;
14                    (ii)    declare that Plaintiffs are not liable to Defendants for
15                    misappropriation of any trade secrets referred to in Exhibit 1;
16                    (iii)   issue preliminary and permanent injunctions directing Defendants
17                    to withdraw Exhibit 1 and any other takedown notice Defendants may
18                    have sent to any distributor of Myth of Empires and restraining
19                    Defendants from interfering with the distribution of Myth of Empires;
20                    (iv)    award Plaintiffs damages as provided by law;
21                    (v)     award Plaintiffs attorneys’ fees as provided by law; and
22                    (vi)    award Plaintiffs such other and further relief as the Court may
23                    deem just and proper.
24
25
26
27
28

        101934562_2                                   4
                                                  COMPLAINT
     Case 2:21-cv-09552-CAS-SK Document 1 Filed 12/09/21 Page 6 of 6 Page ID #:6



 1                                   DEMAND FOR JURY TRIAL
 2             Plaintiffs demand a trial by jury of all issues so triable.
 3      DATED: December 9, 2021 RITA M. HAEUSLER
                                ROBBY S. NAOUFAL
 4                              HUGHES HUBBARD & REED LLP
 5                                        JAMES W. DABNEY (pro hac vice pending)
                                          JAMES R. KLAIBER (pro hac vice pending)
 6                                        LYNN M. RUSSO (pro hac vice pending)
                                          HUGHES HUBBARD & REED LLP
 7
                                          ROY LIU (pro hac vice pending)
 8                                        HUGHES HUBBARD & REED LLP
 9
10
                                          By: /s/ Rita M. Haeusler
11                                                            Rita M. Haeusler
                                                           Attorneys for Plaintiffs
12                                                 SUZHOU ANGELA ONLINE GAME
13                                              TECHNOLOGY CO., LTD. and IMPERIUM
                                              INTERACTIVE ENTERTAINMENT LIMITED
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

        101934562_2                                  5
                                                 COMPLAINT
